                  EXHIBIT 1




Case 3:24-cv-00051-SLG   Document 68-2   Filed 08/09/24   Page 1 of 7
     From: "Culver, Nada L" <nculver@blm.gov>
        To: "Annatoyn, Travis J" <travis.annatoyn@sol.doi.gov>, "Stone-Manning, Tracy M"
            <tstonemanning@blm.gov>, "Daniel-Davis, Laura E" <laura_daniel-davis@ios.doi.gov>,
            "Landreth, Natalie A" <natalie.landreth@sol.doi.gov>
       Cc: "Anderson, Robert T" <Robert.Anderson@sol.doi.gov>
   Subject: RE: OMB questions on Press Release fot Arctic Lands and Wildlife in Alaska
      Date: Thu, 07 Sep 2023 15:23:18 +0000


Yup. And of course we’re all clear on the next sale, including in our documents, and happy re-confirm we talked to our
lawyers (seriously????) and the White House (referred them to the President’s statement). Anyway, seems a
conversation would make more sense to start since some of it seems a bit squishier.

Nada Wolff Culver
Principal Deputy Director
Bureau of Land Management
nculver@blm.gov
202-255-6979

From: Annatoyn, Travis J <travis.annatoyn@sol.doi.gov>
Sent: Thursday, September 7, 2023 11:22 AM
To: Culver, Nada L <nculver@blm.gov>; Stone-Manning, Tracy M <tstonemanning@blm.gov>; Daniel-Davis, Laura E
<laura_daniel-davis@ios.doi.gov>; Landreth, Natalie A <natalie.landreth@sol.doi.gov>
Cc: Anderson, Robert T <Robert.Anderson@sol.doi.gov>
Subject: RE: OMB questions on Press Release fot Arctic Lands and Wildlife in Alaska

(b) (5)ACP



From: Culver, Nada L <nculver@blm.gov>
Sent: Thursday, September 7, 2023 11:14 AM
To: Stone-Manning, Tracy M <tstonemanning@blm.gov>; Daniel-Davis, Laura E <laura_daniel-davis@ios.doi.gov>;
Landreth, Natalie A <natalie.landreth@sol.doi.gov>; Annatoyn, Travis J <travis.annatoyn@sol.doi.gov>
Subject: FW: OMB questions on Press Release fot Arctic Lands and Wildlife in Alaska
Importance: High

Hi – I asked the team to hold off on trying to write anything until we can discuss but also of course happy to meet with
whomever and provide the overview – without sharing internal legal documents, etc. Could we discuss on Friday at our
4:30 if we’re having it? I will be on a plan during 4:30 today and Tracy is out.

Nada Wolff Culver
Principal Deputy Director
Bureau of Land Management
nculver@blm.gov
202-255-6979

From: Huffman, Jessica R <jrhuffman@blm.gov>
Sent: Thursday, September 7, 2023 11:11 AM
To: Culver, Nada L <nculver@blm.gov>; Blasing, Francesca M <fblasing@blm.gov>                                   Exhibit 1
Cc: Bagley, Lonny R <lbagley@blm.gov>; Pryor, Ernest L <epryor@blm.gov>; McDonald, Monique S                      1 of 6
               Case 3:24-cv-00051-SLG            Document 68-2        Filed 08/09/24       Page 2 of 7
                                                                                                           #1128313.1
<m1mcdona@blm.gov>; Shugert, Matthew J <mshugert@blm.gov>
Subject: OMB questions on Press Release fot Arctic Lands and Wildlife in Alaska
Importance: High

Nada,

I see you are out today – if you have time, I would appreciate your thoughts on how to engage on this. Would you be
the correct person to meet with Michael Hagan on his questions? Would you prefer to answer the questions from the
e-mail in writing?

Appreciate any advice and insight you may have for this.

Thank you!

Sincerely,

Jessica Ray Huffman
(She/Her, What’s This?)
Budget Officer
Bureau of Land Management

jrhuffman@blm.gov
Ph: (301) 875-3856

US Department of the Interior
1849 C Street NW. Washington, DC. 20240




From: Bagley, Lonny R <lbagley@blm.gov>
Sent: Thursday, September 7, 2023 10:29 AM
To: Huffman, Jessica R <jrhuffman@blm.gov>
Cc: Pryor, Ernest L <epryor@blm.gov>; McDonald, Monique S <m1mcdona@blm.gov>; Shugert, Matthew J
<mshugert@blm.gov>; Gruber, Benjamin E <BEGruber@blm.gov>
Subject: RE: [EXTERNAL] FW: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in
Alaska

Thanks Jessica, I believe Nada needs to weigh in on these questions.

Thanks

Lonny

Lonny R Bagley
Bureau for Land Management
Deputy Assistant Director (acting)
Energy, Minerals, and Realty Management
307-622-6956
lbagley@blm.gov

From: Huffman, Jessica R <jrhuffman@blm.gov>
Sent: Thursday, September 7, 2023 7:57 AM                                                                      Exhibit 1
To: Bagley, Lonny R <lbagley@blm.gov>                                                                            2 of 6
               Case 3:24-cv-00051-SLG           Document 68-2          Filed 08/09/24    Page 3 of 7
                                                                                                         #1128313.2
Cc: Pryor, Ernest L <epryor@blm.gov>; McDonald, Monique S <m1mcdona@blm.gov>;
                                                            - - - - Shugert, Matthew J
<mshugert@blm.gov>
Subject: FW: [EXTERNAL] FW: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in
Alaska

Good morning Lonny,

Can you take a look at the questions OMB has raised, and help me identify who needs to be
involved in either briefing Mike or drafting written answers?

Thank you!

Jessica

From: Gordon, Bill J <Bill_Gordon@ios.doi.gov>
Sent: Wednesday, September 6, 2023 5:05 PM
To: Huffman, Jessica R <jrhuffman@blm.gov>
                          ---
Cc: Pryor, Ernest L <epryor@blm.gov>; McDonald, Monique S <m1mcdona@blm.gov>
                                                            ----
Subject: Fw: [EXTERNAL] FW: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in
Alaska

Hi Jessica - I just saw this press release after Mike Hagan brought it to my attention. Can we arrange a phone
call with the appropriate person(s) to discuss this announcement further, especially the ANWR piece. He wants
to make sure he completely understands the decision and rationale, and their implications. For example, how
was the 2021 lease sale in violation of ("not correctly interpret") the the Tax Cut and Jobs Act of 2017? And is it
just the existing leases that are not in compliance; e.g. even if these existing leases are cancelled, does BLM still
have a statutory obligation under the Tax Cut and Jobs Act of 2017 to conduct a new lease sale? Do you know if
SOL was involved in this decision/rationale; I assume so but just want to confirm. And do you know if policy
folks at OMB or the White House were consulted in advance of the decision/announcement. Finally, do you
know what this means for the President's budget, which reflects ANWR revenues? Perhaps that is actually a
question for OMB, even though Mike asked the question.

Thanks,

Bill


From: Hagan, Michael B. EOP/OMB <Michael_B._Hagan@omb.eop.gov>
Sent: Wednesday, September 6, 2023 4:16 PM
To: Gordon, Bill J <Bill_Gordon@ios.doi.gov>
Subject: [EXTERNAL] FW: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in Alaska




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                                                                                                              Exhibit 1
                                                                                                                3 of 6
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                                                                                                         #1128313.3
From: U.S. Department of the Interior <info@uP.dates.interior.gm!_>
Sent: Wednesday, September 6, 2023 3:01 PM
To: Hagan, Michael B. EOP/OMB <Michael B. Hagan@omb.eoP..,gm!_>
Subject: Biden-Harris Administration Takes Major Steps to Protect Arctic Lands and Wildlife in Alaska




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          ~ U.S. Department of the Interior: News Release




                                                                             Date: Wednesday, September 6, 2023
                                                                              Contact: Interior Press@ios.doi.gID!,

             Biden-Harris Administration Takes Major Steps to
                Protect Arctic Lands and Wildlife in Alaska
             Department of the Interior cancels oil and gas /eases in the Arctic National Wildlife Refuge;
                       proposes new protections in National Petroleum Reserve in Alaska

            WASHINGTON - The Biden-Harris administration today announced significant steps to
            protect the Arctic National Wildlife Refuge (Arctic Refuge) and more than 13 million acres in
            the National Petroleum Reserve in Alaska (NPR-A). These bold actions to protect the Arctic
            region build on President Biden's historic conservation and climate agenda, which already
            includes protecting more than 21 million acres of public lands and waters across the nation,
            and securing the Inflation Reduction Act, the largest investment in climate action in history.

            In the Arctic Refuge, Secretary of the Interior Deb Haaland has authorized the cancellation
            of the remaining seven oil and gas leases issued by the previous administration in the
            Coastal Plain. The leases were suspended in June 2021 following the issuance of
            Secretary's Order (S.O.) 3401 , which identified "multiple legal deficiencies in the underlying
            record supporting the leases."

            In addition, the Department today proposed new regulations for the NPR-A that would
            ensure maximum protection for the more than 13 million acres of Special Areas in the
            reserve, while supporting subsistence activities for Alaska Native communities. The
            proposed rule, previewed in March 2023, adds to President Biden's actions to protect
            millions of acres of lands and waters in the Arctic, including withdrawing approximately 2.8
            million acres of the Beaufort Sea, ensuring the entire United States Arctic Ocean is off limits
            to new oil and gas leasing.

            "With climate change warming the Arctic more than twice as fast as the rest of the planet,
            we must do everything within our control to meet the highest standards of care to protect
            this fragile ecosystem," said Secretary Haaland. "President Biden is delivering on the most
            ambitious climate and conservation agenda in history. The steps we are taking today further
                                                                                                                      Exhibit 1
            that commitment, based on the best available science and in recognition of the Indigenous
                                                                                                                        4 of 6
               Case 3:24-cv-00051-SLG              Document 68-2                Filed 08/09/24     Page 5 of 7
                                                                                                                  #1128313.4
Knowledge of the original stewards of this area, to safeguard our public lands for future
generations."

Lease Cancellations in the Arctic National Wildlife Refuge

Following passage of the Tax Cuts and Jobs Act of 2017 (Tax Act), the previous
Administration held an oil and gas lease sale in the Arctic Refuge's Coastal Plain on
January 6, 2021 , and issued 10-year leases on nine tracts covering more than 430,000
acres. On January 21 , 2021, President Biden issued Executive Order 13990, directing the
Department to review oil and gas leasing in the Refuge, "[i]n light of the alleged legal
deficiencies underlying the program ." S.O. 3401 directed a new, comprehensive analysis of
the potential environmental impacts of the Coastal Plain Leasing Program. Since that time,
two of the issued leases have been canceled and refunded at the request of the lessees.
The remaining seven leases held by the sole lessee covered 365,000 acres in the Coastal
Plain.

The Secretary of the Interior has the authority to cancel or suspend oil and gas leases
issued in violation of a statute or regulation. The draft supplemental environmental impact
statement (SEIS) released today by the Bureau of Land Management (BLM) and the U.S.
Fish and Wildlife Service (FWS) developed information supporting the Department's
determination that the 2021 lease sale was seriously flawed and based on a number of
fundamental legal deficiencies, including: insufficient analysis under the National
Environmental Policy Act, including failure to adequately analyze a reasonable range of
alternatives and properly quantify downstream greenhouse gas emissions; and failure to
properly interpret the Tax Act. Accordingly, Secretary Haaland has determined that the
leases issued by the previous administration in the Arctic Refuge shall be cancelled.

Protections in the National Petroleum Reserve in Alaska

Extending from the northwest slope of the Brooks Range to the Arctic Coast, the NPR-A
encompasses roughly 23 million acres of public land managed by the BLM. Tribal Nations
have occupied lands now within the NPR-A since time immemorial, and over 40 Indigenous
communities continue to rely on subsistence activities in the reserve, harvesting caribou ,
shore and waterbirds, and many other fish and w ildlife species, with many communities
subsisting primarily from food harvested from the NPR-A.

Under the Naval Petroleum Reserves Production Act (NPRPA) of 1976, Congress directed
the BLM to balance oil and gas development with the management and protection of
sensitive landscapes - know n as Special Areas - and surface resources across the
reserve. The proposed rule is designed to assure maximum protection of Special Areas, as
authorized under the NPRPA. The proposed rule would require that protections for Special
Areas remain in place for as long as the values and characteristics in those areas are
present, ensuring the durability of the protections into the future. The proposed rule also
would require the BLM to review and gather public input - at least every five years - on
whether existing special areas should be expanded, whether new special areas should be
designated, and whether additional resources within special areas should be identified for
protection. Upon finalization of the proposed rule, the Administration will follow this
proposed process to inform the creation or expansion of additional special areas in the
NPR-A.

The proposed rule would protect 13 million acres encompassed by the existing Special
Areas by limiting future oil and gas leasing and industrial development in the Teshekpuk
Lake, Utukok Uplands, Colville River, Kasegaluk Lagoon, and Peard Bay Special Areas -
places collectively know n for their globally significant intact habitat for w ildlife, including
grizzly and polar bears, caribou and hundreds of thousands of migratory birds. The rule
would establish an outright prohibition on any new leasing in 10.6 million acres, more than
40 percent of the NPR-A.

The proposed rule would raise the bar for development throughout the NPR-A by
establishing clear guidelines that are consistent w ith provisions of the current management           Exhibit 1
plan for the reserve, the NPR-A Integrated Activity Plan (IAP). This current management                  5 of 6
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                                                                                                    #1128313.5
                plan for the reserve was put in place in 2022, and effectively reversed the previous
                administration's IAP that sought to expand oil and gas leasing and development in the NPR-
                A and reduce protections for the Special A reas.

                The proposed rulemaking would help protect subsistence uses throughout the NPR-A,
                responding to Alaska Native communities who have relied on the land, water and wildlife to
                support their way of life for thousands of years. It also advances the Biden-Harris
                administration's commitment to strengthening the role of Tribal governments in the
                management of public lands by encouraging the BLM to explore co-stew ardship
                opportunities with Tribes for the Special Areas.

                Seeking Public Comment

                There will be a 45-day public review and comment period on the draft SEIS for the Coastal
                Plain . In developing the draft, the BLM and FWS engaged with a wide variety of
                stakeholders and used the best available data and science, including Indigenous
                Know ledge. For additional information, go to BLM's eplanning page.

                The proposed NPR-A rule and map of the five NPR-A Special Areas as delineated in the
                2022 IAP, are available for preview. A forthcoming publication of the proposed rule in the
                Federal Register will open a 60-day public comment period. During that time, the BLM will
                host in-person meetings in communities on the North Slope, as well as virtual public
                meetings to discuss the proposed rule. Details of those opportunities will be made available
                soon.




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                Alaska Natives, and affiliated island communities to help them prosper.
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